       Case 1:16-cv-11950-MLW Document 168 Filed 06/28/23 Page 1 of 1




                        UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MASSACHUSETTS


  CONSERVATION LAW FOUNDATION, INC.,

                           Plaintiff,

                  v.                                         Case No. 1: 16-cv-11950-MLW

  EXXON MOBIL CORPORATION,
  EXXONMOBIL OIL CORPORATION, and
  EXXONMOBIL PIPELINE COMPANY,

                           Defendants.


                                        JOINT STATUS REPORT

        Pursuant to the Court's October 26, 2022 and May 26, 2023 orders (ECF Nos. 149, 166),

Plaintiff Conservation Law Foundation and Defendants Exxon Mobil Corporation, ExxonMobil

Oil Corporation, and ExxonMobil Pipeline Company respectfully submit the following Joint

Stat11s Report.

        Since their May 26, 2023 status report, see ECF No. 165, the parties have continued to

pursue settlement discussions and have exchanged and suggested revisions to proposed settlement

terms and related materials. They have made further progress towards reaching a final resolution

of the case.

       The parties remain hopeful that progress can continue to be made with additional

discussion and negotiation. Accordingly, the parties request that they be allowed additional time

to pursue settlement. Provided the Court agrees, the parties propose that, by August 4, 2023, the

parties report to the Court again regarding the status of their discussions and, if no settlement has

been reached by that time, their proposal for how the case should proceed, per the Court's October

26, 2022 order.
                                 l n v ,�     ot    ,\-\v.r.> � J , j                -v? �

                             ��                � ��                              e-,o-v'\1'�
                        &- 1/\   d � V\..)\      ftA:� C '1 e: "\A �
                       '-\" �-1.-3                  wo�-- '1;:> -.:f" , / 2. ir l �J
